Erin R AaaNIAOCV-0878-EMO-AS Document 56

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

DENIECE WAIDHOFER,

Plaintiff(s)

CLOUDFLARE, INC., et al.,

Defendant(s).

CASE NUMBER
2:20-cv-06979-FMO-AS

(PROPOSED) ORDER ON APPLICATION
OF NON-RESIDENT ATTORNEY TO APPEAR
IN A SPECIFIC CASE PRO HAC VICE

The Court, having determined whether the required fee has been paid, and having reviewed the
Application of Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by

Elkin, Michael S.

Applicant’s Name (Last Name, First Name e& Middle Initial)
(212) 294-6700 (212) 294-4700

Telephone Number Fax Number

MElkin@winston.com

E-Mail Address

of Winston & Strawn LLP

200 Park Avenue
New York, NY 10166-4193

Firm/Agency Name & Address

for permission to appear and participate in this case on behalf of

Cloudflare, Inc.

Name(s) of Party(ies) Represented
and designating as Local Counsel
Ranahan, Erin R.

Designee’s Name (Last Name, First Name & Middle Initial)
235286 (213) 615-1700 (213) 615-1750
Designee’s Cal. Bar No. Telephone Number Fax Number

ERranahan@winston.com

E-Mail Address

HEREBY ORDERS THAT the Application be:
GRANTED.
[_] DENIED: [_] for failure to pay the required fee.

[_] Plaintiff(s) Defendant(s) [_] Other:

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Los Angeles, CA 90071-1543

of

Firm/Agency Name & Address

[_] for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.

[_] for failure to complete Application:

[_] pursuant to L.R. 83-2.1.3.2: [7] Applicant resides in California; [7] previous Applications listed indicate Applicant

is regularly employed or engaged in business,

professional, or other similar activities in California.

[_] pursuant to L.R. 83-2.1.3.4; Local Counsel: ["] is not member of Bar of this Court; [7] does not maintain office in District.

[_] because

IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid: C1 be refunded LJ not be refunded.

Dated October 13, 2020

/s/ Fernando M. Olguin
U.S. District Judge/US-Magistrate Judge

G-64 ORDER (5/16)

(PROPOSED) ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE

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